          Case 1:13-cv-00633-BAH Document 37 Filed 05/07/15 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CHARMIN MINER, et al.,                        )
                                              )
       Plaintiffs,                            )
                                              )
               v.                             )       Civil Action No. 1:13-cv-00633 (BAH)
                                              )
DISTRICT OF COLUMBIA, et al.,                 )
                                              )
       Defendants.                            )
                                              )


         PLAINTIFFS’ RESPONSE TO SHOW CAUSE ORDER OF MAY 5, 2015

       Upon review of the Memorandum Opinion issued by the Court on April 5, 2015,

Plaintiffs and their counsel understood that the Court granted Summary Judgment as to Plaintiffs'

claims against the municipal Defendant, the District of Columbia, and allowed their claims

against the individual police officer Defendants to proceed to trial. The principal basis for

allowing the case to proceed against the individual Defendants was, as the Court found, that "a

genuine dispute of material fact clearly exists as to whether the defendant officers had probable

cause to stop the plaintiffs since the parties dispute whether the defendant officers actually

witnessed Plaintiff Miner driving in an erratic manner with Plaintiff Baldwin in the vehicle."

Mem. Op. at 15-16. In making this ruling (a sound ruling in Plaintiffs' view), the Court observed

"the unusually sharp and ironic divergence in accounts between the plaintiffs, who fully admit to

traffic violations, in the face of the defendant officers' denial of observing them." Mem. Op. at

15. The Court also found the existence of material factual disputes which precludes summary
           Case 1:13-cv-00633-BAH Document 37 Filed 05/07/15 Page 2 of 3



judgment regarding Plaintiffs' claims of common law battery, assault, and excessive use of force.

Mem. Op. at 16.1


    Having long believed that the D.C. Metropolitan Police Department was primarily responsible

for the offenses of police brutality which the officers committed against them, as alleged in the

Complaint, Plaintiffs moved to dismiss their case against the individual Defendants with the

consent of Defendants' attorneys on May 4, 2015. See Plaintiffs’ Consent Motion to Dismiss the

Individual Defendants [35].


    By Minute Order dated May 5, 2015, the Court granted the aforementioned Plaintiffs'

Consent Motion to Dismiss the Individual Defendants. In this Minute Order, the Court also

granted, "as conceded," Defendant's Motion to Vacate and Reconsider the Court's April 9, 2015

Order Denying Summary Judgment to the Four Unknown Officers and the District. The Court

further ordered Plaintiffs to Show Cause by noon today why this case should not be dismissed in

its entirety because Plaintiffs did not file "a timely opposition by May 4, 2015,” to Defendant's

Motion to Vacate and Reconsider.


    Plaintiffs' filing of their voluntary Motion to Dismiss the Individual Defendants on the May 4,

2015 opposition deadline was Plaintiffs' de facto response to Defendant's Motion to Vacate and

Reconsider. Plaintiffs' Motion to Dismiss, now granted by the Court, did not expressly concede

the arguments made in Defendant's Motion to Vacate and Reconsider, nor was it meant for

Plaintiffs’ Motion to implicitly concede those arguments.




1
 The additional facts presented by Defendant in its Motion to Vacate and Reconsider do not completely dispel the
underlying factual disputes relating to the issues of probable cause for detention and excessive use of force by the
officers.
         Case 1:13-cv-00633-BAH Document 37 Filed 05/07/15 Page 3 of 3



   The voluntary, now granted Plaintiffs’ Consent Motion to Dismiss the Individual Defendants

rendered moot Defendants’ Motion to Vacate and Reconsider because when the Motion to

Dismiss was filed, there was no longer a case or controversy between the Plaintiffs and the

individual Defendants. See Chafin v. Chafin, __ U.S.__, 133 S.Ct. 1017, 1023, 185 L.Ed.2d , __

(2013), and the cases cited therein. Accordingly, Plaintiffs did not disregard, or intend to

disregard, the Court’s May 4, 2015 deadline for an opposition to Defendant’s Motion. It is clear

that Plaintiff’s Motion to Dismiss the Individual Defendants addressed the subject matter of

Defendant’s Motion.


   As this case raised a number of procedurally and factually complex issues, it may be

beneficial for the Court to hold a hearing before dismissing the case with finality.


                                      Respectfully Submitted,

                                      /s/ Joseph D. Gebhardt
                                      JOSEPH D. GEBHARDT
                                      D.C. Bar No. 113874
                                      The Law Offices of Gary M. Gilbert & Associates, P.C.
                                      1100 Wayne Avenue, Suite 900
                                      Silver Spring, MD 20910
                                      Phone: (301) 608-0880
                                      Fax: (301) 608-0881
                                      Email: jgebhardt@ggilbertlaw.com

May 7, 2015                           Attorney for Plaintiffs
